Filed 09/05/19                                                                                     Case 19-21640                                                  Doc 99




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                                                                 Peter Cianchetta, SBN: 220971
                                                            2    CIANCHETTA & ASSOCIATES
                                                                 8788 Elk Grove Blvd., Suite 2A
                                                            3    Elk Grove, California 95624
                                                            4    Ph: (916) 685-7878
                                                                 plc@eglaw.net
                                                            5
                                                                 Attorney for Deborah Leigh Miller-Zuranich
                                                            6

                                                            7                          UNITED STATES BANKRUPTCY COURT
                                                            8
                                                                                        EASTERN DISTRICT OF CALIFORNIA
                                                            9
                                                                     In re:                                      Case No. 2019-21640
                                                            10
 CIANCHETTA & ASSOCIATES




                                                            11       Debora Leigh Miller-Zuranich                DCN: PLC-06
                           8788 Elk Grove Blvd., Suite 2A




                                                            12                                   ,Debtors        Hearing Date: NONE
                               Elk Grove, CA 95624




                                                            13                                                   Hearing Time: NONE
                                                                                                                 Hon. Christopher D. Jaime
                                                            14                                                   Courtroom 32 - Dept B
                                                            15
                                                                          APPLICATION FOR ORDER SHORTENING TIME FOR HEARING ON
                                                            16                    MOTION TO EMPLOY REAL ESTATE SALESPERSON
                                                            17
                                                                 The Debtor and Debtor in Possession, by and through counsel, respectfully seek an Order
                                                            18

                                                            19   Shortening Time for notice on the above indicated Motion/Application as follows:

                                                            20   RELIEF SOUGHT:

                                                            21   Motion to Stanley Cornelius as Real Estate Salesperson for the Sale of Real Property Pursuant
                                                            22   to 11 U.S.C. § 327(a), FED. R. BANKR. P. 2014(a), 2016(b) AND 5002, Authorizing the
                                                            23
                                                                 Debtor in Possession, Debora Miller Zuranich, by and through her attorney, Peter Cianchetta to
                                                            24
                                                                 employ Stanley Cornelius as Real Estate Salesperson to act as Salesperson in the sale of Real
                                                            25
                                                                 property commonly known as 7815/7820 Midway Rd., Dixon, CA 95620.
                                                            26

                                                            27

                                                            28   Attached as Exhibit A is a copy of the proposed Motion/Application showing the relief sought.

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                                                                 REASON FOR REQUEST:
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                                                                    1. The Debtor believes it is in the best interests of the estate and its creditors to sell the Subject
                                                            2

                                                            3           Property.

                                                            4       2. The Subject Property is a dairy farm appealing to a select group of potential buyers,

                                                            5           therefore, the Debtor believes it is necessary to employ a farm sales broker to aid in the sale

                                                            6           or lease of the Subject Property.
                                                            7       3. Mr. Cornelious is an experienced and knowledgeable real property agent working in the
                                                            8
                                                                        Alameda County since 1992.
                                                            9
                                                                 DATE REQUESTED: September 10, 2019 at 3:00 PM.
                                                            10
 CIANCHETTA & ASSOCIATES




                                                                 WHEREFORE, Debtor requests that this Court enter its Order as follows:
                                                            11
                           8788 Elk Grove Blvd., Suite 2A




                                                                    1. That this Application be granted;
                                                            12
                               Elk Grove, CA 95624




                                                            13      2. That the time for notice be shortened on the subject Motion/Application;

                                                            14      3. The Hearing be held at the above date and time;

                                                            15      4. Debtors shall serve all parties on or before August 30, 2019, by first class mail, eservice
                                                            16
                                                                        recipients by email;
                                                            17
                                                                    5. For such other relief as is just and proper.
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